Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 1 of 14 PageID# 1



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                Newport News Division

JAMES T. PARKER, II
and
DEBRA L. PARKER,

                      Plaintiffs,
v.                                                      Civ. No. ____________

FREEDOM MORTGAGE CORPORATION
SERVE: CT Corporation System, Registered Agent
       4701 Cox Road, Suite 285
       Glen Allen, VA 23060,

and

EXPERIAN INFORMATION SOLUTIONS, INC.,
SERVE: David N. Anthony, Registered Agent
      1001 Haxall Point
      Richmond, VA 23219,

and


EQUIFAX INFORMATION SERVICES, LLC.,
SERVE: Corporation Service Company, Registered Agent
      100 Shockoe Slip, 2nd Floor
      Richmond, Virginia 23219,


                      Defendants.


                                      COMPLAINT

       Plaintiffs, JAMES T. PARKER, II (hereafter “Plaintiff” or “Mr. Parker”) and DEBRA L.

PARKER (hereafter “Plaintiff” or “Mrs. Parker”), by counsel, for their Complaint against

Defendants, allege as follows:




                                            1
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 2 of 14 PageID# 2



                                  PRELIMINARY STATEMENT

       1. This is an action for actual, statutory and punitive damages, costs and attorney’s fees

brought pursuant to 15 U.S.C. §§ 1681 et seq. (Federal Fair Credit Reporting Act or “FCRA”);

and 12 U.S.C. § 2601 et seq. (Real Estate and Settlement Procedures Act or “RESPA”).

                                         JURISDICTION

       2. The jurisdiction of this Court is conferred by the FRCA, 15 U.S.C. § 1681p, the

RESPA, 12 U.S.C. §2605(f), and 28 U.S.C. §1331.

       3. Personal jurisdiction and venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

inasmuch as all of the Defendants do substantial business here, maintain their actual and/or

registered offices within this District and a significant part of the Plaintiffs’ claims occurred here.

                                             PARTIES

       4. The Plaintiff, JAMES T. PARKER, II is a natural person and a consumer as defined by

15 U.S.C. § 1681a(c).

       5. The Plaintiff, DEBRA L. PARKER is a natural person and a consumer as defined by

15 U.S.C. § 1681a(c).

       6. Upon      information    and    belief,   FREEDOM MORTGAGE                CORPORATION

(“FREEDOM”) is a corporation authorized to do business in the Commonwealth of Virginia

through its registered offices in Glen Allen, Virginia. At relevant times alleged in this Complaint,

Freedom was a mortgage servicer under RESPA and furnisher as governed by the FCRA.

       7. Upon information and belief, EXPERIAN INFORMATION SOLUTIONS, INC.

(“Experian”), is a corporation authorized to do business in the Commonwealth of Virginia through

its registered offices in Richmond, Virginia.




                                                    2
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 3 of 14 PageID# 3



       8. Upon information and belief, Experian is a “consumer reporting agency,” as defined

by 15 U.S.C. §1681a(f). Upon information and belief, Experian is regularly engaged in the

business of assembling, evaluating, and disbursing information concerning consumers for the

purpose of furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

       9. Upon information and belief, Experian disburses such consumer reports to third parties

under contract for monetary compensation.

       10. Upon information and belief, EQUIFAX INFORMATION SYSTEMS, LLC.

(“Equifax”) is a corporation authorized to do business in the Commonwealth of Virginia through

its registered offices in Richmond, Virginia.

       11. Upon information and belief, Equifax is a “consumer reporting agency,” as defined in

15 U.S.C. §1681a(f). Upon information and belief, Equifax is regularly engaged in the business

of assembling, evaluating, and disbursing information concerning consumers for the purpose of

furnishing consumer reports, as defined in 15 U.S.C. §1681a(d) to third parties.

       12. Upon information and belief, Equifax disburses such consumer reports to third parties

under contract for monetary compensation.

                                                FACTS

       13. Plaintiffs own and live in a home located in Virginia that is secured by a mortgage

with Defendant, Freedom Mortgage Corporation (“Freedom Mortgage”).

       14. In January 2016, Freedom Mortgage incorrectly changed the monthly mortgage

amount in its computer system from $778.29 to $1,196.96 due to it paying the City of Newport

News real estate taxes on Plaintiffs’ home, even though Plaintiffs were granted tax relief due to

Plaintiff, James Parker, being disabled. This led to Plaintiffs filing and prosecution of a previous

lawsuit in this Court.



                                                  3
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 4 of 14 PageID# 4



       15. Plaintiffs reached a settlement of the previous lawsuit against Freedom Mortgage on

June 2, 2017. The settlement required that Freedom Mortgage correct the derogatory reporting of

Plaintiffs’ mortgage account with Experian and Equifax. It also required the correction and

adjustment of the actual payment amounts the Plaintiffs would be responsible to pay going

forward.

       16. On or about February 19, 2018, Plaintiffs received correspondence from Freedom

Mortgage (inaccurately) indicating that Plaintiffs were delinquent on their mortgage payment.

       17. Freedom Mortgage continued inaccurately reporting Mr. and Mrs. Parker’s mortgage

as late to Experian and Equifax.

       18. Plaintiffs have continued to make the required mortgage payments actually due each

month. At no time were the Plaintiffs in default of their mortgage payments.

       19. Plaintiffs continued to receive correspondence and telephone calls from Freedom

Mortgage indicating that the Plaintiffs’ mortgage was in default.

       20. On or about April 30, 2018, Plaintiffs sent a Qualified Written Request (QWR) to

Freedom Mortgage disputing the accuracy of the mortgage account, requesting specific

information about their mortgage to which they are entitled, and asking that Freedom Mortgage

correct its inaccurate accounting of the mortgage and end its collection attempts.

       21. As of the filing of this suit, Plaintiffs have never received a response from Freedom

Mortgage regarding their Qualified Written Request.

       22. Upon information and belief, Freedom Mortgage knew that its reporting of borrowers’

mortgage account was at a minimum, inaccurate, but more likely, purposefully designed to cause

acceleration and foreclosure, depriving borrowers of their rights and property.

       23. The Parkers obtained their consumer reports from Experian and Equifax.



                                                4
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 5 of 14 PageID# 5



       24. Both Experian and Equifax were each reporting the Parkers loan to be past due and in

default.

       25. On April 30, 2018, after continued frustration and fear of losing their home, Mr. and

Mrs. Parker sent letters to Experian and Equifax, disputing the accuracy of the agencies’ reporting

of the mortgage on their consumer reports.

       26. Plaintiffs supplied specific information to each of the consumer reporting agencies that

the delinquencies being reported were inaccurate.

       27. The Freedom Mortgage reporting was inaccurate. The Plaintiffs were not delinquent

at any time.

       28. Defendants each had actual knowledge of these inaccuracies and deliberately chose to

ignore and permit the reporting of the inaccurate Freedom Mortgage account.

       29. Upon information and belief, Plaintiffs allege that on one or more occasions Experian

and Equifax forwarded Plaintiffs’ disputes to Freedom Mortgage. Upon information and belief,

Freedom Mortgage was provided notice of Plaintiffs’ disputes and despite this note, failed and

refused to investigate and correct its inaccurate reporting.

       30. Experian and Equifax each received Mr. and Mrs. Parker’s disputes, but in each case

wholly and entirely failed to conduct the reinvestigations required by law. Instead, Experian and

Equifax merely “parroted” the information dictated to it by Freedom Mortgage.

       31. Experian and Equifax prepared and published to third parties multiple inaccurate

consumer reports about Mr. and Mrs. Parker that reflected the derogatory Freedom Mortgage

account.




                                                  5
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 6 of 14 PageID# 6




                COUNT ONE: VIOLATION OF FAIR CREDIT REPORTING ACT
                                 15 U.S.C. § 1681e(b)
                              (EXPERIAN and EQUIFAX)

        32. Plaintiffs reallege and incorporate all other factual allegations set forth in the

Complaint.

        33. Experian and Equifax each violated 15 U.S.C. §1681e(b) by failing to establish

and/or to follow reasonable procedures to assure maximum possible accuracy in the preparation

of the Plaintiffs’ credit reports and credit files they published and maintained concerning the

Plaintiffs.

        34. As a result of Experian’s and Equifax’s violations of 15 U.S.C. §1681e(b) Plaintiffs

suffered actual damages, including but not limited to: loss of credit, damage to reputation,

embarrassment, humiliation and other mental and emotional distress.

        35. The violations by Experian and Equifax were willful, rendering each of the

Defendants individually liable for punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, Experian and Equifax were negligent, entitling

the Plaintiffs to recovery under 15 U.S.C. §1681o.

        36. Plaintiffs are entitled to recover actual damages, statutory damages, punitive

damages, costs and attorney’s fees from Experian and Equifax in an amount to be determined by

the Court pursuant to 15 U.S.C. § 1681n and §1681o.

                COUNT TWO: VIOLATION OF FAIR CREDIT REPORTING ACT
                                 15 U.S.C. § 1681i(a)
                           (EXPERIAN and EQUIFAX )

        37. Plaintiffs reallege and incorporate all other factual allegations set forth in the

Complaint.



                                                  6
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 7 of 14 PageID# 7



        38. Experian and Equifax each violated 15 U.S.C. §1681i(a)(1) by failing to conduct a

reasonable reinvestigation to determine whether the disputed information was inaccurate and

record the current status of the disputed information or delete the item from each of the

Plaintiffs’ credit files.

        39. Experian and Equifax each violated 15 U.S.C. §1681i(a)(4) by failing to review and

consider all relevant information submitted by the Plaintiffs.

        40. Experian and Equifax each violated 15 U.S.C. §1681i(a)(5)(A) by failing to promptly

delete the disputed inaccurate items of information from each of the Plaintiffs’ credit files or

modify the item of information upon a lawful reinvestigation.

        41. As a result of Experian’s and Equifax’s violations of 15 U.S.C. §1681i(a), Plaintiffs

suffered actual damages, including but not limited to: loss of credit, damage to reputation,

embarrassment, humiliation and other mental and emotional distress.

        42. The violations by Experian and Equifax were willful, rendering each of the

Defendants individually liable for punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, Experian and Equifax were negligent, entitling

the Plaintiffs to recovery under 15 U.S.C. §1681o.

        43. Plaintiffs are entitled to recover actual damages, statutory damages, costs and

attorney’s fees from Experian and Equifax in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n and §1681o.

        44. Plaintiffs are entitled to recover actual damages, statutory damages, punitive

damages, costs and attorney’s fees from Experian and Equifax in an amount to be determined by

the Court pursuant to 15 U.S.C. § 1681n and §1681o.




                                                 7
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 8 of 14 PageID# 8



           COUNT THREE: VIOLATION OF FAIR CREDIT REPORTING ACT
                      15 U.S.C. § 1681s-2(b)(1)(A) AND (B)
                           FREEDOM MORTGAGE

       45.   Plaintiffs reallege and incorporate all other factual allegations set forth in the

Complaint.

       46. On at least one occasion within the past two years, by example only and without

limitation, Freedom Mortgage violated 15 U.S.C. § 1681s-2(b)(1)(A) by failing to fully and

properly investigate the Plaintiffs’ disputes.

       47. On one or more occasions within the past two years, by example only and without

limitation, Freedom Mortgage violated 15 U.S.C.§1681s-2(b)(1)(B) by failing to review all

relevant information provided by the consumer reporting agencies.

       48. When the Plaintiffs mailed their detailed, written disputes and enclosures to the

consumer reporting agencies (“CRAs”), they use a dispute system named, “e-Oscar,” which has

been adopted by the credit reporting agencies and by their furnisher-customers such as Freedom

Mortgage. It is an automated system and the procedures used by the CRAs are systemic and

uniform.

       49. When a CRA receives a consumer dispute, it (usually via an off-shore, outsource

vendor), translates that dispute into an “ACDV” form.

       50. The ACDV form is the method by which Freedom Mortgage have elected to receive

consumer disputes pursuant to 15 U.S.C. § 1681i(a).

       51. Based on the manner in which the CRAs responded to – or did not respond to – each

of the Parker’s disputes, representing that Freedom Mortgage had “verified” the supposed accuracy

of its reporting, Plaintiffs allege that Experian and Trans Union did in fact forward the Plaintiffs’

dispute via an ACDV to Freedom Mortgage.



                                                 8
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 9 of 14 PageID# 9



       52. Freedom Mortgage understood the nature of the Plaintiffs’ disputes when it received

the ACDVs from Experian and Trans Union.

       53. When Freedom Mortgage received the ACDVs from Experian and Trans Union, it as

well could have reviewed its own systems and previous communications with the Plaintiffs and

discovered that Freedom Mortgage in fact had received full mortgage payments from the Plaintiffs

in all months that they disputed, which months reflected that no payment at all was made on the

Plaintiffs’ consumer reports.

       54. Notwithstanding the above, Freedom Mortgage follows a standard and systemically

unlawful process when it receives the ACDV dispute. Basically, all Freedom Mortgage does is

review its own internal computer screen for the account and repeat back to the ACDV system the

same information Freedom Mortgage already had reported to the CRAs.

       55. When Freedom Mortgage receives a consumer dispute through e-Oscar, it does not

conduct a substantive review of any sort to determine whether or not the information already in its

computer system is itself accurate.

       56. As a result of Freedom Mortgage’s violations of 15 U.S.C. §1681s-2(b)(1)(A) and (B),

the Plaintiffs suffered actual damages, including but not limited to: loss of credit, damage to

reputation, embarrassment, humiliation and other mental and emotional distress.

       57. The violations by Freedom Mortgage were willful, rendering it liable for punitive

damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, Freedom Mortgage was negligent, entitling the Plaintiffs to recovery under 15 U.S.C.

§1681o.




                                                9
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 10 of 14 PageID# 10



       58. The law in this District, the Fourth Circuit, and even nationally has long ago been

articulated to require a detailed and searching investigation by a furnisher when it receives a

consumer’s FCRA dispute through a CRA.

       59. Freedom Mortgage was aware of the Johnson v. MBNA FCRA decision by the Fourth

Circuit when it followed the ACDV procedures used regarding the Plaintiffs’ dispute.

       60. On information and belief, the Plaintiffs allege that the procedures followed regarding

the Plaintiffs’ FCRA disputes through e-Oscar were the procedures that Freedom Mortgage

intended its employees or agents to follow.

       61. The Plaintiffs are entitled to recover actual damages, statutory damages, punitive

damages, costs and attorney’s fees from Freedom Mortgage in an amount to be determined by the

Court pursuant to 15 U.S.C. § 1681n and §1681o.

             COUNT FOUR: VIOLATION OF FAIR CREDIT REPORTING ACT
                         15 U.S.C. § 1681s-2(b)(1)(C) and (D)
                             FREEDOM MORTGAGE

       62.    Plaintiffs reallege and incorporate all other factual allegations set forth in the

Complaint (particularly though not limited to as pled in the “Fact” section of the Complaint and

previous Counts).

       63. On one or more occasions within the past two years, by example only and without

limitation, Freedom Mortgage violated 15 U.S.C. § 1681s-2(b)(1)(C) and (D) by publishing the

Freedom Mortgage’s inaccuracies within Plaintiffs’ credit files with Experian and Equifax without

also including a notation that this debt was disputed and by failing to correctly report results of an

accurate investigation to each credit reporting agency.

       64. Specifically, Freedom Mortgage failed to add the “XB” code to the CCC (Compliance

Condition Code) field in the ACDV dispute forms when it responded to Experian and Trans Union.



                                                 10
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 11 of 14 PageID# 11



        65. On information and belief, Plaintiffs allege that Freedom Mortgage rarely if ever adds

the XB code or other notation that an account is disputed when it responds to e-Oscar ACDVs.

        66. Freedom Mortgage knew that the Plaintiffs disputed the subject account on multiple

occasions directly with Freedom Mortgage and its agents.

        67. The Plaintiffs’ disputes were, at a minimum, bone fide.

        68. In fact, the Plaintiffs’ disputes were justified because they had made mortgage

payments at times that Freedom Mortgage and the CRAs reported no payments had been made

and showed arrearages when Freedom Mortgage did not have documentation to show that the

Plaintiffs’ loan was delinquent or in default.

        69. Freedom Mortgage was aware of the Saunders v. B.B. & T. FCRA decision by the

Fourth Circuit when it followed the ACDV procedures used regarding the Plaintiff’s dispute.

        70. On information and belief, the Plaintiff alleges that the procedures followed regarding

the Plaintiff’s FCRA disputes through e-Oscar were the procedures that Freedom Mortgage

intended its employees or agents to follow.

        71. On information and belief, the Plaintiffs allege that Freedom Mortgage’s employee or

agent did not make a mistake (in the way in which he or she followed Freedom Mortgage’s

procedures) when he or she received, processed and responded to the Experian and Trans Union’s

ACDVs and did not include the XB code in the CCC field.

        72. On information and belief, the Plaintiffs allege that Freedom Mortgage has not

materially changed its FCRA investigation procedures regarding the CCC field in ACDVs after

learning of its failures in this case.




                                                 11
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 12 of 14 PageID# 12



       73. As a result of Freedom Mortgage’s violations of 15 U.S.C. §1681s-2(b)(1)(C) and (D),

the Plaintiffs suffered actual damages, including but not limited to: loss of credit, damage to

reputation, embarrassment, humiliation and other mental and emotional distress.

       74. The violation by Freedom Mortgage was willful, rendering it liable for punitive

damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, Freedom Mortgage was negligent, entitling the Plaintiffs to recovery under 15 U.S.C.

§1681o.

       75. The Plaintiffs are entitled to recover actual damages, statutory damages, punitive

damages, costs and attorney’s fees from Freedom Mortgage in an amount to be determined by the

Court pursuant to 15 U.S.C. § 1681n and §1681o.

                             COUNT FIVE:
      VIOLATION OF REAL ESTATE AND SETTLEMENT PROCEDURES ACT
                           12 U.S.C. § 2605(e)
                         FREEDOM MORTGAGE


       76.   Plaintiffs reallege and incorporate all other factual allegations set forth in the

Complaint.

       77. On one or more occasions within the past two years, by example only and without

limitation, Plaintiffs made a qualified written request to Freedom Mortgage insisting that it conduct

an investigation to correct inaccurate account information, inaccurate credit reporting, inaccurate

charges to their account, and to provide information regarding their loan.

       78.    Plaintiffs made qualified written requests in May, 2016.           Plaintiffs’ written

communications were sent to the address at which they were instructed to send such requests by

Freedom Mortgage.

       79. Freedom Mortgage provided no response at all to the Plaintiffs’ QWR.



                                                 12
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 13 of 14 PageID# 13



       80. Freedom Mortgage violated the Real Estate Settlement Procedures Act, 12 U.S.C. §

2605(e), by:

          a.   Failing to timely conduct an appropriate investigation of Plaintiffs’ inquiries;

          b.   Failing to conduct any investigation whatsoever regarding Plaintiffs’ inquiries;

          c.   Failing to timely provide Plaintiffs with a true and accurate written explanation or

   clarification of the Plaintiff’s legitimate questions regarding his loan;

          d.   Continuing to report information regarding allegedly overdue payments to the

   national credit bureaus.

       81. As a result of Freedom Mortgage’s violations of 12 U.S.C. § 2605(e), the Plaintiffs

   suffered actual damages, including but not limited to: loss of credit, damage to reputation,

   embarrassment, humiliation and other mental and emotional distress.

       82. Freedom Mortgage is liable for actual damages in an amount to be determine by the

   Court pursuant to 15 U.S.C. § 2605(f).

       83. Freedom Mortgage’s conduct appears to be a pattern and practice of misconduct with

   many consumers. Plaintiffs have been victims of this pattern of misconduct. For each violation

   of 12 U.S.C. § 2605(e), Freedom Mortgage is also liable to Plaintiffs for additional damages up

   to $1,000 per violation.

       84. Plaintiffs are also entitled to recover costs and attorneys’ fees from Freedom Mortgage

   in an amount to be determined by the Court pursuant to 12 U.S.C. § 2605(f)(3).

       WHEREFORE, Plaintiffs each demand judgment for actual, statutory and punitive

damages against Defendants, jointly and severally; for their attorneys’ fees and costs; for

prejudgment and post-judgment interest at the judgment rate; specific performance and injunctive

relief; and such other relief the Court deems just and proper.



                                                 13
Case 4:18-cv-00140-HCM-LRL Document 1 Filed 11/06/18 Page 14 of 14 PageID# 14



TRIAL BY JURY IS DEMANDED

                                          Respectfully Submitted,
                                          JAMES T. PARKER and
                                          DEBRA L. PARKER

                                          By:    /s/ Leonard A. Bennett
                                                 Counsel

Leonard A. Bennett, VSB#37523
Craig Marchiando, VSB#89736
CONSUMER LITIGATION ASSOCIATES, P.C.
763 J. Clyde Morris Blvd. 1-A
Newport News, VA 23601
(757) 930-3660 – Telephone
(757) 930-3662 – Facsimile
Email: lenbennett@clalegal.com
Email: craig@clalegal.com

                  Counsel for Plaintiff




                                            14
